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     OMAR LUNA
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     OMAR LUNA,                                        Case No.: 2:24-cv-00692 PA (BFMx)
11
12                Plaintiff,                           NOTICE OF VOLUNTARY
           vs.                                         DISMISSAL OF ENTIRE ACTION
13                                                     WITH PREJUDICE
14
     MARTHA SERTA D/B/A VILMAR
15   BEAUTY SALON; D.S.R. PARTNERS,
16   LLC; and DOES 1 to 10,
                  Defendants.
17
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19
           PLEASE TAKE NOTICE that Plaintiff OMAR LUNA (“Plaintiff”) pursuant to
20
     Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses the entire
21
     action with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) which
22
     provides in relevant part:
23
           (a) Voluntary Dismissal.
24
                  (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
25
                         and any applicable federal statute, the plaintiff may dismiss an action
26
                         without a court order by filing:
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28


                                                   1
                    NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
     Case 2:24-cv-00692-PA-BFM Document 17 Filed 03/13/24 Page 2 of 2 Page ID #:54




 1                      (i)   A notice of dismissal before the opposing party serves either an
 2                            answer or a motion for summary judgment.
 3   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5   Court.
 6
 7   DATED: March 13, 2024                 SO. CAL. EQUAL ACCESS GROUP
 8
 9
10                                         By:     /s/ Jason J. Kim
                                                 Jason J. Kim, Esq.
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                                                 Attorneys for Plaintiff
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                   NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
